                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

 NEW PRIME, INC.                               )
 D/B/A PRIME, INC.,                            )
                                               )
                Plaintiff,                     )
                                               )       Case No. 6:19-cv-03236-MDH
 v.                                            )
                                               )       Hon. M. Douglas Harpool
 AMAZON LOGISTICS, INC.,                       )
 AMAZON.COM SERVICES LLC, and                  )
 AMAZON TECHNOLOGIES, INC.,                    )
                                               )
                Defendants.                    )
                                               )


                             JOINT STIPULATION OF DISMISSAL

       Plaintiff New Prime, Inc. (“New Prime”) and Defendants Amazon Logistics, Inc.,

Amazon.com Services LLC, and Amazon Technologies, Inc. (together, “Amazon”) (each a

“Party” and collectively the “Parties”) agree and stipulate that this case has been settled and

resolved to the Parties’ satisfaction. Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and the terms of

their settlement agreement, the Parties stipulate and agree that the above-captioned case be and

hereby is dismissed with prejudice, with each Party bearing its own attorneys’ fees and costs.




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Date: April 29, 2022


Respectfully submitted,

 /s/ Travis W. McCallon                   /s/ Nathan E. Shafroth
 Travis W. McCallon MO #56979             Nathan E. Shafroth (admitted pro hac vice)
 Luke M. Meriwether MO #59915             COVINGTON & BURLING LLP
 Eric D. Sidler MO #69531                 Salesforce Tower
 Timothy J. Hadachek, MO #70985           415 Mission Street, Suite 5400
 LATHROP GPM LLP                          San Francisco, CA 94105-2533
 2345 Grand Boulevard, Suite 2200         Telephone: 415-591-7065
 Kansas City, MO 64108                    Email: nshafroth@cov.com
 Tel: 816.292.2000
 Fax: 816.292.2001                        Lindsey Barnhart (admitted pro hac vice)
 travis.mccallon@lathropgpm.com           COVINGTON & BURLING LLP
 luke.meriwether@lathropgpm.com           3000 El Camino Real
 eric.sidler@lathropgpm.com               5 Palo Alto Square
 timothy.hadachek@lathropgpm.com          Palo Alto, CA 94306
                                          Telephone: (650) 632-4700
 Attorneys for Plaintiff                  Email: lbarnhart@cov.com

                                          Robert N. Hunziker (admitted pro hac vice)
                                          Simeon Botwinick (admitted pro hac vice)
                                          COVINGTON & BURLING LLP
                                          One CityCenter
                                          850 Tenth Street, NW
                                          Washington, DC 20001
                                          Telephone: (202) 662-5720
                                          Email: rhunziker@cov.com;
                                          sbotwinick@cov.com

                                          Russell S. Jones, Jr. (Bar No. 30814)
                                          Phillip Zeeck (Bar No. 65298)
                                          POLSINELLI PC
                                          900 W. 48th Place, Suite 900
                                          Kansas City, MO 64113
                                          Telephone: (816) 753-1000
                                          Email: rjones@polsinelli.com;
                                          pzeeck@polsinelli.com

                                          Attorneys for Defendants




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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on April 29, 2022, Plaintiff New Prime, Inc. filed
the foregoing Joint Stipulation of Dismissal with the Clerk of Court with service upon counsel of
record for Defendants Amazon Technologies, Inc., Amazon.com Services LLC, and Amazon
Logistics, Inc. via the CM/ECF filing system.

                                            /s/ Travis W. McCallon
                                            Attorney for Plaintiff




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